1 Case 1:99-cV-01261-.]DB-tmp Document 93 Filed 04/22/05 Page 1 0f4 Page|D 81

 

UNITED sTATEs DIsTRICT COURT l`“‘"" /YY'/
WESTERN DISTRICT oF TENNESSEE m 590 ?¢ PH s h n
EASTERN DIVISION " " ‘

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I)ANIEL sMITH, ) ots-tit u.s.‘“i)i§i“."'ez,_

) . WU. OF TN. MEMPH|§'-`
Plaintiff )
)

v. ) No. 99~1261 Bre-P
)
C0RRECT10NS CoRPoRATIoN )
oF AMERICA, et al., )
)
Defendants )
0R1)ER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is Well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Compel is extended up to and including June 10, 2005 .

wP\/%~

JUDGE
DATED: L{ (-U. ( '>5_

IT IS SO ORDERED.

 

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This document entered on the docket

S .t in compliance
With Rule 58 and,*or 79 (a) FHCP on _w_, fpqu

Case 1:99-cV-01261-.]DB-tmp Document 93 Filed 04/22/05 Page 2 of 4 Page|D 82

APPROVED FOR ENTRY:

913/tamm O-llbim

JAMES l. PENTE'CbsT
BRANDoN 0. GIBSON

    

ROBERT W. RITCH

PENTECOST, GLENN & RUDD, PLLC RITCHIE, FELS & DILLARD
106 Stonebridge Blvd. P.O. Box 1126

Jackson, Tennessee 38305 Knoxville, Tennessee 37901-1126
ROBERT J. WALKER W. GASTON FAIREY

MARK TIPPS W. GASTON FAIREY, LLC
JOSEPH WELBORN 1722 Main Street, Suite 300

WALKER, BRYANT, TIPPS & MALONE Columbia, South Carolina 29201
2300 One Nashville Place

150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVIC_L`_

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gastoo Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on
April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

By: %Mle/l O°¢@b([ll/b

James I. Pentecost (#011640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

 

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K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Honorable J. Breen
US DISTRICT COURT

 

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K. Michelle Booth

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Jacl<son7 TN 38305

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

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